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                              Unlicensed construction
                              manuafacturing
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One or more persons appeared to be
living in the space over night.
                                               Urine and human waste and other
                                               bio hazards.
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                                       More human waste and something
                                       was dead in one of the bags as it
                                       smelled decaying
